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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                            CHAPTER 13 CASE NO:

GEANJRIA NORPHLET                                            18-13141-JDW

       NOTICE OF TRUSTEE’S MOTION TO MODIFY CONFIRMED PLAN

      Should any party receiving this notice respond or object to said motion, such
response or objection is required to be filed on or before April 16, 2019, using the
CM/ECF system or with the Clerk of this Court at the following address:

                          Shallanda J. Clay, Clerk of Court
                              U. S. Bankruptcy Court
                           Northern District of Mississippi
                              703 Highway 145 North
                                Aberdeen, MS 39730

and a copy must be served on the undersigned Chapter 13 Trustee. If no responses
are filed, the Court may consider said motion immediately after the time has expired.
In the event a written response is filed, the Court will notify you of the date, time and
place of the hearing thereon.

                                    CERTIFICATE

       I, the undersigned Attorney for Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage
prepaid, or electronically notified through the CM/ECF system, a copy of the above
and foregoing to the following attorneys of record and/or parties of interest.

Dated: March 14, 2019
                                         LOCKE D. BARKLEY,
                                         CHAPTER 13 TRUSTEE

                                         /s/ Melanie T. Vardaman
                                         ATTORNEYS FOR TRUSTEE
                                         W. Jeffrey Collier (MSB 10645)
                                         Melanie T. Vardaman (MSB 100392)
                                         6360 I-55 North, Suite 140
                                         Jackson, Miss. 39211
                                         (601) 355-6661
                                         ssmith@barkley13.com
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                  THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                            CHAPTER 13 CASE NO.:

GEANJRIA NORPHLET                                            18-13141-JDW

                    MOTION TO MODIFY CONFIRMED PLAN

      COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee”), by and

through counsel, and files this Motion to Modify Confirmed Plan (the “Motion”).

The recipient(s) of the Motion have 30 days, subject to Fed. R. Bankr. P. 9006(f), in

which to file a response or objection. In support of the Motion, the Trustee states as

follows:

      1.     The Chapter 13 Plan was confirmed by Order of this Court entered on

January 18, 2019, for a term of 38 months (Dkt. #25) (the “Confirmed Plan”). The

Confirmed Plan does not provide for a distribution to nonpriority unsecured

creditors.

      2.     The Confirmed Plan provides for payment to Rent-A-Center (the

“Creditor”) for two (2) claims. The first, in the amount of $954.00 plus 6% interest,

is secured by an electric range. The second in the amount of $1,000.00 plus 6%

interest, is secured by a 65” HD TV & fire place. As of this date the Creditor has

failed to file proofs of claim. The time period for the filing of claims has passed.

      3.     The Trustee requests that the Confirmed Plan be modified to remove

the claims of the Creditor and to use the funds proposed for each of the claims for a

pro rata distribution to nonpriority unsecured creditors with timely filed and

allowed proofs of claim.

      4.     The plan payment should remain unaltered.
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      WHEREFORE, PREMISES CONSIDERED, the Trustee prays that upon

notice and an opportunity for hearing that this Court enter its order granting the

Motion and for such other relief to which Trustee and this bankruptcy estate may

be entitled.

      Dated: March 14, 2019

                                        Respectfully submitted,

                                        LOCKE D. BARKLEY,
                                        CHATPER 13 TRUSTEE

                                 By:    /s/ Melanie T. Vardaman
                                        ATTORNEYS FOR TRUSTEE
                                        W. Jeffrey Collier (MSB 10645)
                                        Melanie T. Vardaman (MSB 100392)
                                        6360 I-55 North, Suite 140
                                        Jackson, Miss. 39211
                                        (601) 355-6661
                                        ssmith@barkley13.com


                            CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I
electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
and I hereby certify that I either mailed by United States Postal Service, first class,
postage prepaid, or electronically notified through the CM/ECF system, a copy of
the above and foregoing to the Debtor, attorney for the Debtor, the United States
Trustee, and other parties in interest, if any, as identified below.

      Rent-A-Center
      Attn: Legal Department
      5501 Headquarters Drive
      Plano, TX 75024

      Dated: March 14, 2019

                                        /s/ Melanie T. Vardaman
                                        MELANIE T. VARDAMAN
